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                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                             CIVIL NO: 0:10-cv-00685-JNE-RLE

HOLLY BROWN,                       )
                                   )
               Plaintiff,          )
                                   )                  NOTICE OF SETTLEMENT
     vs.                           )
                                   )
FINANCIAL RECOVERY SERVICES, INC., )
                                   )
               Defendant.          )


        NOW COMES Plaintiff, HOLLY BROWN (“Plaintiff”), by and through the undersigned

counsel and hereby informs the court that a settlement of the present matter has been reached and

is in the process of being finalizing, which Plaintiff anticipates will be within the next thirty (30)

days.

        Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.



                                       Respectfully Submitted,


DATED: August 18, 2010                 KROHN & MOSS, LTD.

                                       By: /s/ Lee Cassie Yates                     _
                                          Lee Cassie Yates- # 0352688
                                          Krohn & Moss, Ltd.
                                          120 West Madison Street, 10th Floor
                                          Chicago, IL 60602
                                          Phone: (312) 578-9428

                                           Attorney for Plaintiff




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                                    NOTICE OF SETTLEMENT
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2010, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to Sarah E. Doerr and Michael S. Poncin, Attorneys for Defendant, by

the Court’s CM/ECF system.



                                                            s/ Lee Cassie Yates
                                                            Lee Cassie Yates
                                                            Attorney for Plaintiff




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                                  NOTICE OF SETTLEMENT
